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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

       Plaintiff,
                                                     Case No. 17-20595
 v.
                                                     Hon. Marianne O. Battani
 YOUSEF MOHAMMAD RAMADAN,

       Defendant.

 _____________________________________/


                   ORDER DENYING DEFENDANT’S MOTION
           FOR INSPECTION OF GRAND JURY VOTE AND TRANSCRIPTS

       In a motion filed on June 26, 2019, Defendant requests the opportunity to inspect

 the transcripts of the grand jury proceedings in this case, and also asks that he be

 informed of the grand jury’s votes on the initial and superseding indictments. On July

 15, 2019, the Government filed a response in opposition to Defendant’s motion, and the

 Court heard argument on this motion on July 31, 2019. For the reasons stated on the

 record at the July 31 hearing,

       IT IS HEREBY ORDERED that Defendant’s June 26, 2019 motion for inspection

 of grand jury vote and transcripts (Dkt. 134) is DENIED.


 Date: August 12, 2019                           s/Marianne O. Battani
                                                 MARIANNE O. BATTANI
                                                 United States District Judge
